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                    EXHIBIT ONE
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IN THE UNITED STATES DISTRICT COURTFOR THE DISTRICT OF COLUMBIA

                                                  ) Criminal No. 1:22-cr-00015-APM
    UNITED STATES OF AMERICA,                     )
                                                  )
                         v.                       )
                                                  )
    THOMAS CALDWELL,                              )
                                                  )
    And                                           )
    ____________________________________          ) Criminal No. 1:21-cr-00028-APM
    UNITED STATES OF AMERICA,                     )
                                                  )
                         v.                       )
                                                  )
    CONNIE MEGGS,                                 )
                                                  )
                    Defendant

                     REPLY IN SUPPORT DEFENDANTS’
                    JOINT MOTION TO TRANSFER VENUE

          COMES NOW, Defendants, Connie Meggs and Thomas Caldwell, jointly by undersigned

counsel, and respectfully submits this Reply Memorandum of Points and Authorities in further

support of its motion to the Court, pursuant to Federal Rule of Criminal Procedure 21, for a transfer

of venue so that they may be tried by an impartial jury as guaranteed by the Fifth and Sixth

Amendments to the United States Constitution.

     I.      The D.C. jury pool is prejudiced against the Oath Keepers.

          Just this week, President Biden accused the “MAGA crowd” of being the “most extreme

political organization that’s existed.” 1 The President previously called J6 “[t]he worst attack on

our democracy since the Civil War.” 2 As noted in previous filings, the Attorney General of the

United States has publicly suggested that Oath Keeper members are part of a “domestic terrorist”




1
  Brooke Singman, Biden says ‘MAGA crowd’ is most extreme political organization that existed
in recent American history (May 4, 2022). www.foxnews.com/politics/biden-maga-most-extreme-
political-organization.
2
  State of the Union Address (Apr. 22, 2022).
                                                  1
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organization. The entire city was impacted either personally or tangentially as a result of the events

of J6. The effect on D.C. has been profound and a jury, even if they honestly tried, could not be

fair and impartial against the Rhodes and Crowl defendants.

          The burden is not on the defendants to prove that every single resident of D.C. cannot be

fair and impartial. The standard is not to whittle down the D.C. jury pool to the point of finding 12

individuals who will try their best to be fair and impartial. The surveys that have been conducted

on behalf of these defendants and others convincingly prove the obvious: the potential DC jury

pool is highly predisposed against these Defendants.

          The results of three different polls in addition to the Skilling Factors, are compelling proof

that overwhelming prejudice exists in D.C. Even more compelling: 16 defendants have joined the

instant motion, and others who have now pleaded guilty had previously joined a prior request to

transfer venue. Many of these defendants are represented by experienced defense counsel from the

greater D.C. area. It is no secret to prosecutors and defense attorneys who have practiced both

within and outside the District that the D.C. jury pool is defendant-friendly in federal cases. 3 That

16 experienced defense attorneys would seek a litigation refuge away from the D.C. jury pool is

powerful proof that the potential venire is hostile to their clients, including the Survey

commissioned by the Federal Public Defenders’ Office.

    II.      Changing Venue to Virginia is Appropriate.

          The Crowl and Rhodes defendants would prefer to have their cases heard far-away from the

District, as pretrial publicity and a politically active jury pool will not result in a fair trial.

However, with a venue transfer, the defendants want to limit the inconvenience to the Court, the

government, D.C.-based witnesses, and others. Accordingly, the defendants have suggested that



3
  In fact, undersigned counsel contacted the Federal Public Defender’s Office in the District and
requested sample motions to transfer venue. The response: “I asked around our office, but nobody
has ever heard of a defendant trying to transfer their case out of D.C.”
                                                      2
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the Court move the case a whopping eight miles from D.C. to the U.S. District Court for the

Eastern District of Virginia (“EDVA”). These defendants would agree to this move, which would

greatly enhance their chances for a fair trial. The jury pool makeup in the EDVA according to the

defense survey, is far less prejudiced against the defendants than a potential D.C. jury pool, and

peremptory strikes will allow the defense to ferret out biased jurors.

    III.      The January 6 Committee’s activities require a venue transfer.

           In Skilling v. United States, the Supreme Court distinguished Rideau, where a trial was

conducted in close proximity to prejudicial news coverage, with Skilling’s trial, where “over four

years elapsed between Enron's bankruptcy and Skilling's trial.” Skilling, 561 U.S. at 383. This

factor weighs heavily in favor transferring venue. On top of the incessant negative publicity

regarding J6 defendants, Congress has convened the Select Committee to Investigate the January

6th Attack on the United States Capitol (“J6 Committee”), which is running parallel to the instant

court proceedings. Rep. Kinzinger has admitted that the J6 Committee is engaged in a criminal

investigation to determine whether laws were broken on January 6, 2021. 4 And Rep. Adam Schiff,

a member of the J6 Committee, revealed on national television that "all [the J6 Committee] can do

is expose all the malefactors, follow the evidence, wherever it leads, tell the American people the

story of what went into January 6th, all the planning that went into it, who was behind it in terms of

the money." 5 The J6 Committee will be holding hearings all summer and is expected to release its

report in September, just before the first Rhodes trial is set to begin.




4
  ABC News, 'This Week' Transcript 12-19-21: Rep. Adam Kinzinger, ABC News (Dec. 19, 2021),
https://abcnews.go.com/Politics/week-transcript-12-12-21-dr-anthony-fauci/story?id=81833124;
CNN Politics, Kinzinger says January 6 panel is investigating Trump’s involvement in insurrection
(Dec. 19, 2021) https://www.cnn.com/2021/12/19/politics/adam-kinzinger-trump-investigation-
insurrection-cnntv/index.html
5
 Late Night with Seth Meyers, Rep. Adam Schiff Says It Was Torture Listening to Kevin
McCarthy's Speech, YouTube (Nov. 22, 2021),
https://www.youtube.com/watch?v=mPvKNFC615o.
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       In its opposition, the government did not address Delaney v. United States, 199 F.2d 107

(1st Cir. 1952), which held that the trial court abused its discretion in not granting a lengthy

continuance in light of prejudicial congressional committee hearings. Last week, this Court

expressed skepticism that the D.C. Circuit would follow the holding in Delaney. However, the

D.C. Circuit in a Watergate-era case, after reviewing the conduct of the trial below, specifically

cited Delaney in a footnote after stating: “Our close examination of the procedures followed by the

trial judge has satisfied us that he properly made the determinations required of him under the

controlling decisions of this court.” United States v. Ehrlichman, 546 F.2d 910, 916 n. 8 (D.C. Cir.

1976) (distinguishing Delaney on the grounds that the Senate Watergate hearings ended almost a

year before the trial commenced and “the defendants were not under indictment at the time of the

hearings.”). United States v. Haldeman also cited Delaney, but distinguished it on similar grounds

as in Ehrlichman. See United States v. Haldeman, 559 F.2d 31, 63, n.40 (D.C. Cir. 1976).

       Respectfully, Ms. Meggs and Mr. Caldwell ask: Does the Court want to risk a possible

retrial of the Crowl, and Rhodes defendants based upon a percentage chance that the D.C. Circuit

would refuse to follow Delaney, a case that it has previously cited in two cases as required, but

distinguished? Delaney held:

       [I]n being brought to trial in the hostile atmosphere engendered by all this pre-trial
       publicity, would obviously be as great, whether such publicity were generated by
       the prosecuting officials or by a congressional committee hearing. In either case he
       would be put under a heavy handicap in establishing his innocence at the impending
       trial. Hence, so far as our present problem is concerned, we perceive no difference
       between prejudicial publicity instigated by the United States through its executive
       arm and prejudicial publicity.




                                                   4
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Delaney v. United States, 199 F.2d at 114 (emphasis added). 6 7

            Additionally, it is not the defendants’ fault that Congress has decided to publicly engage in

high-profile committee hearings or that Members of Congress and other prominent officials

continue to unleash prejudicial comments. The comments made by these parties are far more

prejudicial than the statements made by former Acting U.S. Attorney Michael Sherwin, which

prompted the Court to conduct an emergency hearing in March of 2021. In fact, these comments,

especially in a politically active city like the District, are continuous body-blows to the defense.

            The Court can avoid any possibility of a potential retrial by, with the consent of the

defendants, transferring these cases to the Eastern District of Virgina. Additionally, a transfer to

the Eastern District of Virginia, Alexandria would likely allow the Court to try all defendants in

each trial at the same time, thus conserving judicial resources. The Eastern District of Virginia,

courthouse in Alexandria has a massive ceremonial courtroom that could accommodate large

trials. 8

            The instant case is different than single-defendant cases.

            While the government is correct that venue transfer motions have been rejected in other


    6
      See also Marshall v. United States, 360 U.S. 310, 312 (1959) “The prejudice to the defendant
    is almost certain to be as great when that evidence reaches the jury through news accounts as
    when it is a part of the prosecution's evidence.”); United States v. Quiles-Olivo, 684 F.3d 177,
    182 (1st Cir. 2012) ( holding that where pretrial publicity has “inflamed passions in the host
    community” and “permeat[es] the trial setting . . . [such] that a defendant cannot possibly
    receive an impartial trial,” the district court must presume local prejudice and transfer the
    proceeding); Mu’Min v. Virginia, 500 U.S. 415, 429-430 (1991) (citing Patton, supra, at 1035)
    (“Under the constitutional standard, on the other hand, ‘the relevant question is not whether the
    community remembered the case, but whether the jurors . . . had such fixed opinions that they
    could not judge impartially the guilt of the defendant.’"). .
7
 See also Pamplin v. Mason, 364 F.2d 1, 5 (5th Cir. 1966) ("Where outside influences affecting
the community's climate of opinion as to a defendant are inherently suspect, the resulting
probability of unfairness requires suitable procedural safeguards, such as a change of venue,
to assure a fair and impartial trial.").
8
  Additionally, the Eastern District of Virgnia has multiple military bases that could potentially be used for trials,
including Ft. Belvoir (Fairfax, Va.), Ft. Myer (Arlington, Va.), and Ft. A.P. Hill (Bowling Green, Va.), which have
large buildings and are outfitted with “brigs” that can house detained defendants during recesses in trial. In short, a
trial outside of the District, in the eyes of the Defendants, would not be nearly as impacted as a trial in the District.
                                                              5
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cases, Crowl and Rhodes are distinguishable as they involve multi-defendant conspiracies.

Potential D.C. jurors would be hard-pressed to name minor defendants or have any specific

information regarding individual defendants. By contrast, the “Oath Keepers” have been all over

the news. These defendants have been slandered as “racists” and “domestic terrorists” by the local

press. Caldwell, for example, was falsely accused of hunting down Members of Congress in a

previous indictment. Defendant Stewart Rhodes has been falsely accused in the press of having a

backyard filled with underground bunkers. It is beyond unfair for this slandered group of

Defendants to have to be judged by a jury pool which has been poisoned to think that they are

racists and domestic terrorists.

          The government repeatedly has argued that this is an extraordinary case, but now attempts

to argue that it is an ordinary case that a careful voir dire can address. For example, President Joe

Biden has called January 6th “[t]he worst attack on our democracy since the Civil War.” 9

          The government’s opposition to moving this case to Alexandria Virginia is lacking in

substance where these defendants who are facing charges that expose them to over 20 years in

prison, and raise genuine concerns of severe prejudice, as set forth in the Memorandum in further

support of the Motion to Transfer Venue.

          The government concludes by arguing against moving the case to Alexandria because they

argue that the Alexandria Court pulls from seven counties, and is not as large as the Eastern

District of Virginia, but ignores the fact that Defendants are attempting to confer, and raising an

opportunity for the court to avoid severe prejudice by simply taking the case across the river, a de

minis burden for this court, the government and the defendants simultaneously could face a jury

panel who have not been personally impacted by the January 6th protests as DC residents have

been. In the duty to ensure equal protection of the law 10, rather than purely adversarial goals, such



9
    On April 28, 2021 in State of the Union Address.
10
     “Selectivity in the enforcement of criminal laws is, of course, subject to constitutional
                                                   6
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a move would insulate the government’s own cases, assuming they prove their cases, based on a

simple move across the river, (where there may even be some practical efficiencies, such as

possibly the ability to try more than six or seven defendants at once).

   IV.      The government’s authorities are unconvincing.

         The government fails to counter the defendants citation to United States v. McVeigh, 918 F.

Supp. 1467, 1470 (W.D. Okla. 1996) (summarily finding that a trial of Oklahoma City bombing

suspects in federal court in Oklahoma City (Western District of Oklahoma) would be

constitutionally unfair). The McVeigh court observed that “[t]here is no disagreement among the

parties with Judge Alley's concern about a trial in Oklahoma City. The effects of the explosion on

that community are so profound and pervasive that no detailed discussion of the evidence is

necessary.” Id. at 1470 (emphasis added). Again, if J6 is equivalent to the Oklahoma City

bombing, which Attorney General Garland supervised the prosecution of and agreed to McVeigh’s

request for a venue change, it would seem that a venue transfer is appropriate for the J6 defendants.

         The government cites the Sixth Amendment as guaranteeing the right to be tried “by an

impartial jury of the State and district wherein the crime shall have been committed” and U.S. v.

Cores, 356 U.S. 405, 409 (noting that venue for § 252 (c) lies in any district where the alien

crewman willfully remains after the permit expires), to assert that J6 trials must be held in D.C.

However, the indictments in Crowl and Rhodes allege that the “QRF” and other portions of the

charged conspiracy occurred in northern Virginia. Accordingly, the Eastern District of Virginia

Alexandria would be a proper venue, as many overt acts allegedly occurred therein.

         The government’s reliance on Morgan v. Illinois, 504 U.S. 719, 729 (1992), to argue that




constraints.” U.S. v. Batchelder, 442 U.S. 114, 124-25 (1979). These constraints include the
Fifth Amendment’s Equal Protection Clause, which requires that “the decision whether to
prosecute may not be based on ‘an unjustifiable standard such as race, religion, or other
arbitrary classification.’” Oyler v. Boles, 368 U. S. 448, 456 (1962).

                                                  7
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voir dire is the proper tool for identifying unqualified jurors is misplaced. In Morgan, the Court

actually reversed and remanded the jury’s verdict “[b]ecause the inadequacy of voir dire leads us to

doubt that petitioner was sentenced to death by a jury empaneled in compliance with the Fourteenth

Amendment, his sentence cannot stand.” Id. at 739 (citations omitted).

         ‘The Supreme Court has stressed repeatedly that the touchstone of the guarantee of an

impartial jury is a protection against juror bias.’ United States v. Boney, 977 F.2d 624, 633 (D.C.

Cir. 1992) (citing McDonough Power Equipment, Inc. v. Greenwood, 464 U.S. 548, 554, 78 L. Ed.

2d 663, 104 S. Ct. 845 (1984)). In Boney, the D.C. Circuit remanded the case for an evidentiary

hearing where one juror lied about his felony conviction. See Id. The dissent therein cited and

explained a holding that is more akin to the facts in the case at bar, “[i]n the bias context, the

impaneling of a juror properly challenged for implied bias is reversible error. See, e.g., Gladhill v.

General Motors Corp., 743 F.2d 1049, 1050-51 (4th Cir. 1984), so holding because the challenged

juror held stock in the defendant corporation. Cf. Peters v. Kiff, 407 U.S. 493, 33 L. Ed. 2d 83, 92

S. Ct. 2163 (1972).” Id. at 643. (RANDOLPH, Circuit Judge, dissenting in part and concurring in

part).

         And it is for the convenience of the court and the parties, that the Defendants have raised

transferring to the Eastern District of Virginia, and even to the Alexandria Courthouse, which is

only 8.1 miles away, due to the fact that the personal profound impact of the incident itself is

significantly reduced for residents outside of the District of Columbia, while being a reasonable

alternative with a significantly reduced burden on the court or the government than transferring to

other regions. A motion to change the venue of a criminal trial invokes an application of the

governing criteria to the trenchant facts of the particular case. The government cites to Jones v.

Gasch, 404 F.2d 1231, (id. at 5), which states that, ‘Rule 21(b) "permits a transfer in any case on

motion of the defendant on a showing that it would be for the convenience of parties and witnesses,

and in the interest of justice."’ Id at 1243.

                                                    8
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          The government repeatedly cites to In United States v. Tsarnaev, 780 F.3d 14, 15 (1st Cir.

2015)(per curium)(rev’d by 142 S. Ct. 1024, 1034, 212 L. Ed. 2d 140, 151 (2022)), the Court

addressed the standard of review in voir dire, and there was no discussion on a motion for change

of venue. Id. The government also cited to United States v. Youssef, 327 F.3d 56, 155 (2d Cir.

2003), but that case is only on point to the extent that the venue was deemed appropriate based on

location of the Defendant’s arrest, which is not the case here. It is undisputed that Defendants were

arrested in their home states. See Id. 114-115 (“Congress enacted 18 U.S.C. § 3238 under the

above constitutional provisions to specify the applicable venue when a crime is committed outside

the United States: the trial of all offenses begun or committed upon the high seas, or elsewhere out

of the jurisdiction of any particular State or district, shall be in the district in which the offender, or

any one of two or more joint offenders, is arrested or is first brought.”) Moreover, the

government’s citation to U.S. v. Moussaoui, 43 App’x 612, 613 (4th Cir. 2002) (per curium)

(unpublished), appears misplaced because the court found that Defendants could only appeal a

change of venue motion on direct appeal, wherein they appeared to have made procedural errors.

(“An order denying a change of venue is also reviewable on direct appeal. id. at 614.)

     V.      Size and Characteristics of the Community

          The government argues that “[t]here is no reason to believe that the District’s entire

population of nearly 700,000 people was so affected by these events that the Court cannot seat an

impartial jury here.” (ECF 662 at p. 7, emphasis added) 11. A significant finding in the ILR Survey

was the elevated concern by D.C. residents vis-a-vis their safety concerns in light of J6. (Ex. A).


11
  The government simply dismisses the evidence of bias (when the motion was initially brought
the court dismissed saying in a nutshell that the defendants have no evidence to support their
arguments) arguing that “[t]here is no reason to believe that the District’s entire population of
nearly 700,000 people was so affected by these events that the Court cannot seat an impartial jury
here.” (ECF 662 at p. 7, emphasis added). The Jury Administrator has supplemented testimony to
explain that on January 19, 2022 a new master wheel for juries to be drawn from is based upon
599, 237 names. (See Letter of January 25, 2022 attached hereto as Exhibit D). Obviously that
pool systematically gets reduced by each set of jurors called for jury duty during the year.

                                                     9
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Respondents were asked: Have you experienced increased concern about your own safety or the

safety of people important to you due to the Events of January 6th?

       The difference between the D.C. and the other areas is astounding:




The survey included four questions as to the personal impact J6 had on the respondents; the

responses confirming personal impact on D.C. residents was almost double that of those surveyed

in the Eastern District of Virginia. (Exh. A at 4).

         It cannot be seriously disputed that the majority of potential jurors in the District were

 personally impacted in some way by the events on J6. This factor weighs heavily in favor of

 transferring the instant cases to the Eastern District of Alexandria, ALEXANDRIA. D.C. is a

 city that, as a whole, feels that it has been the victim of a crime. J6 was substantially more

 impactful than Enron’s collapse, which personally affected a few hundred families in a city of

 4.5 million residents, who could easily be stricken from the jury pool.

                       A. Nature and Extent of Pretrial Publicity


       The instant case involved a barrage of local and national media on J6. Hundreds of stories

covering the Oath Keepers have been published. Additionally, prejudicial statements by Mayor
                                                  10
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Bowser 12 and other local DC politicians 13 have poisoned the jury pool. The defendants have raised

two additional areas of prejudice in addition to the news media: first, the profound personal impact

of the events of January 6th on the DC Community; and, second, the J6 Committee, which is

running parallel to the court proceedings. The J6 Committee investigation involves relevant

witnesses and investigation, including subpoenas issued to all Oath Keeper defendants for their

phone records.

            The ILR Study asked respondents four questions related to news coverage in the tested

 areas. The survey revealed that D.C. is an outlier when it comes to saturation coverage. Only

 4.83% percent of DC respondents said “never or almost never” in regard to following news

 coverage, compared to 13.40% said in the Eastern District of Virginia. (Ex. A, fig. 6). The

 survey demonstrates that far fewer potential jurors outside the beltway are taking a personal

 interest in J6 as compared to their D.C. counterparts.

     VI.      Presumed Prejudice

           In Skilling, the Supreme Court explained presumed prejudice, and observed why it was

lacking in that case:

           Finally, and of prime significance, Skilling's jury acquitted him of nine insider-
           trading counts. Similarly, earlier instituted Enron-related prosecutions yielded no
           overwhelming victory for the Government. In Rideau, Estes, and Sheppard, in
           marked contrast, the jury's verdict did not undermine in any way the supposition of


12
   D.C. Mayor Bowser Says Focus Must Shift To 'Domestic White Terrorism' Politico,
https://www.politico.com/news/2021/01/17/bowser-muriel-domestic-white-terrorism-459945

13
  D.C.’s Police Chief also said his officers are stationed across the city and prepared to handle
anything that could arise Thursday in light of the anniversary of the insurrection. And he made a
plea to the public for information about the person who planted “not one but two real pipe bombs”
in the nation’s capital ahead of the insurrection. One year after the insurrection at the U.S. Capitol,
which saw the seat of democracy stormed by supporters of then-President Donald Trump, D.C.’s
mayor, police chief and fire chief praised the bravery of the District’s first responders.

 DC Mayor, Police And Fire Chiefs Praise First Responders On Jan. 6 Riot Anniversary, Will
Vitka, WTOP News, 01/06/2022 https://wtop.com/dc/2022/01/dc-mayor-police-and-fire-chiefs-
praise-first-responders-on-jan-6-riot-anniversary/

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        juror bias. It would be odd for an appellate court to presume prejudice in a case in
        which jurors' actions run counter to that presumption.
 Skilling, 561 U.S. at 383 (emphasis added). Unlike Skilling, four J6 trials before juries have

 resulted in unanimous jury verdicts promptly returned. Most recently, on May 2, 2022 Thomas

 Webster was convicted on all six counts after a jury deliberated about three hours: “[f]ederal

 juries in Washington have now found all four defendants who have gone to trial on felony

 charges guilty in the rioting that began after President Donald Trump urged supporters to go to

 the Capitol where Congress was confirming Joe Biden’s 2020 election victory.” 14

        In Marshall v. United States, 360 U.S. 310, 312 (1959)), the Court held that the harm to

petitioner that resulted when prejudicial information denied admission into evidence was brought

before jurors through newspapers required that a new trial be granted. Id. at 310-313.

        The prejudice to the defendant is almost certain to be as great when that evidence
        reaches the jury through news accounts as when it is a part of the prosecution's
        evidence. Cf. Michelson v. United States, 335 U.S. 469, 475. It may indeed be
        greater for it is then not tempered by protective procedures.

        Id. at 312-313.

        The Supreme Court has also held “[w]here there is a reasonable likelihood that prejudicial

news prior to trial will prevent a fair trial, the judge should continue the case until the threat abates,

or transfer it to another county not so permeated with publicity.” Sheppard v. Maxwell, 384 U.S.

333, 362-363, 86 S. Ct. 1507, 1522, 16 L. Ed. 2d 600, 620, (1966). 15 The case at bar contains a


14 Thomas Webster, retired NYPD officer, found guilty of Jan. 6 assault on police - The
Washington Post, May 2, 2022.
https://www.washingtonpost.com/dc-md-va/2022/05/02/webster-guilty-police-assault-jan6/
15
  The government also generally argues that the ‘best course when faced with pretrial publicity is
ordinarily “to proceed to voir dire to ascertain whether the prospective jurors have, in fact, been
influenced by pretrial publicity”’ citing U.S. v Campa, 459 F.3d 1121, 1146 (11th Cir.
2006)(emphasis added)(discussed the safeguards against prejudice and said “[w]here there is a
reasonable likelihood that prejudicial news prior to trial will prevent a fair trial, the judge should
continue the case until the threat abates, or transfer it to another county not so permeated with
publicity."); Pamplin v. Mason, 364 F.2d 1, 5 (5th Cir. 1966) ("Where outside influences affecting
the community's climate of opinion as to a defendant are inherently suspect, the resulting
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barrage of local media, and some national media, on January 6 as an “insurrection” and then there

are individual stories covering the Oath Keepers, as well as political statements by the DC Mayor 16

and other local DC politicians 17.

     a. The ILR Study

        The government emphasizes that “a full 70.13% of D.C. respondents said that they “could”

render a fair verdict, despite affirmatively admitting to bias.” The ILR Survey shows that “91% of

DC Community respondents who answered all of the prejudgment test questions admit making at

least one prejudicial prejudgment on issues related to the case, while other [areas] admit doing so at

rates from 49% to 63%.” And 30% of D.C. residents admitted to making every prejudicial

prejudgment, double the rate of the next highest area. This is damning evidence that a substantial

percentage of potential jurors in the District either do not recognize that they cannot be fair and

impartial or, more worrisome, that they might feign impartiality to be empaneled on a jury.

        The large percentage of D.C. residents who admitted prejudice is shocking and is obvious

proof of presumed prejudice. See, Murphy v. Fla., 421 U.S. 794, 802 (1975) (explaining the

standard in addressing profound community prejudice: “[I]n a community where most veniremen

will admit to a disqualifying prejudice, the reliability of the others' protestations may be drawn into


probability of unfairness requires suitable procedural safeguards, such as a change of venue, to
assure a fair and impartial trial.").
16
   D.C. Mayor Bowser Says Focus Must Shift To 'Domestic White Terrorism' Politico,
https://www.politico.com/news/2021/01/17/bowser-muriel-domestic-white-terrorism-459945

17
  D.C.’s Police Chief also said his officers are stationed across the city and prepared to handle
anything that could arise Thursday in light of the anniversary of the insurrection. And he made a
plea to the public for information about the person who planted “not one but two real pipe bombs”
in the nation’s capital ahead of the insurrection. One year after the insurrection at the U.S. Capitol,
which saw the seat of democracy stormed by supporters of then-President Donald Trump, D.C.’s
mayor, police chief and fire chief praised the bravery of the District’s first responders.

 DC Mayor, Police And Fire Chiefs Praise First Responders On Jan. 6 Riot Anniversary, by Will
Vitka, WTOP News, 01/06/2022 https://wtop.com/dc/2022/01/dc-mayor-police-and-fire-chiefs-
praise-first-responders-on-jan-6-riot-anniversary/

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question; for it is then more probable that they are part of a community deeply hostile to the

accused, and more likely that they may unwittingly have been influenced by it.”); Jackson v.

Denno, 378 U.S. 368 (1964) (reaching beyond law and evidence and considering the

“psychological reality” of a jury’s functioning). The Government nit-picks at the ILR Study but

misses the point. The defense does not dispute that most prospective DC jurors will try to be fair.

What the ILR Study shows is that they will not be fair despite claiming and even wanting to be fair.

To the point: voir dire cannot cure this issue.

       The government ignores the ILR Survey findings that show preconceived beliefs that the J6

defendants pre-planned to go into the Capitol:




(Exh. A, fig. 1). Well over the majority, 71% of D.C. residents believe that J6 was pre-planned,

whereas discovery has produced no evidence that the Defendants planned the Capitol breach. This

result is significant on the issue of intent, which is an essential element of a number of the charges.

       The ILR Survey also confirms substantial bias in D.C.’s potential jury pool:




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         (Exh. A, fig. 2).

        The government therefore cites to Irvin, 366 U.S. 717, 723 (1960), (id. at 16), to argue that

“the survey does not indicate that D.C. residents are substantially less able to be fair than

prospective jurors from other jurisdictions,” however, it is the Supreme Court in Irvin that vacated

the judgement of the jury finding:

       …No doubt each juror was sincere when he said that he would be fair and impartial
       to petitioner, but the psychological impact requiring such a declaration before one's
       fellows is often its father. Where so many, so many times, admitted prejudice, such
       a statement of impartiality can be given little weight. As one of the jurors put it,
       "You can't forget what you hear and see."

       Irvin v. Dowd, 366 U.S. at 728 (emphasis added)(citing Shepherd v. Florida, 341 U.S. 50

(concurring opinion); Moore v. Dempsey, 261 U.S. 86).

       The Supreme Court in Murphy v. Fla., 421 U.S. 794, 802 (1975), citing Irvin, 366 U.S. at

803, explained the standard in addressing profound community prejudice, “[i]n a community where

most veniremen will admit to a disqualifying prejudice, the reliability of the others' protestations

may be drawn into question; for it is then more probable that they are part of a community deeply

hostile to the accused, and more likely that they may unwittingly have been influenced by it.”
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Murphy, 421 U.S. at 803. The Marshall Court, supra, 360 U.S. at 312, like the Irvin Court, Irvin v.

Dowd, 366 U.S. at 728 and Murphy v. Florida, 421 U.S. at 803 recognized that the presumption of

prejudice overrides juror declarations of impartiality during voir dire because such attestations may

be insufficient to protect a defendant’s rights in particularly charged cases. See Id.

          The United States Court of Appeals for the District of Columbia speaks more generally to

the danger of prejudice to a criminal defendant. “The courts need not rest on the assumption that

juries can compartmentalize their minds and hear things for one purpose and not for another. The

Supreme Court took the lead in Jackson v. Denno, 378 U.S. 368, 84 S. Ct. 1774, 12 L. Ed. 2d 908

(1964), by going behind the historic assumptions of the law of evidence and considering the

psychological reality of the jury's functioning, in that case as it related to its consideration of the

voluntariness of confessions.” Awkard v. United States, 352 F.2d 641, 645-646 (D.C. Cir.

1965)(“The trial judge in the instant case clearly abused his discretion in permitting the prosecuting

attorney to cross-examine defendant's character witnesses on appellant's prior arrests.” (emphasis

added).

          As suggested by the Guidelines, more specific questions, including a hypothetical question

about the respondent’s potential performance as a juror for a J6 defendant were asked later in the

survey. For the earlier questions, respondents did not have any clues that their potential for fairness

as a juror was being tested.

           Again, over 70% literally just said they would find any j6 def guilty of unspecified crimes with no

 evidence. They have revealed that they expect to find any J6 Def guilty of unspecified charges without any

 evidence. It must be presumed that there is prejudicial bias.

    b. Analysis by the Federal Public Defenders’ Office:

          The government attempts to dispute the credibility of the Federal Public Defenders’

Commissioned Survey by arguing that it failed to provide an option of saying the respondent was

“unsure,” but the questions, nonetheless, did give other options. When asked whether they thought
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the “people who were arrested for activities related to those demonstrations are guilty or not guilty

of the charges brought against them,” 71% say “guilty” and 3% say “not guilty.” About one of

every six volunteer that “it depends,” while only 10% offer no opinion as to the guilt of those

arrested. (Case No. 1:21-cr-00024-EGS, ECF 101-1, Select Litigation Report commissioned for the

PD, D.C., with appendices). (Attached Mot. Exh. B at p.3, par. 10).

       And this result corroborates the ILR Survey, which is not significantly disputed by the

government, which found that,


             “Q3. 72% of DC Community respondents said that they are likely to find
       Defendants guilty – even when given the choice, “It is too early to decide.” The
       median in the Study was 48%.

               • Q5. 85% of the DC Community characterizes the Events of January 6th as
       acts that are criminal in nature (insurrection, attack or riot), even when given options
       to reserve judgment on that question. The median in the Study was 54%.

              • Q6. 71% of the DC Community believes that all who entered the U.S.
       Capitol without authorization planned in advance to do so, even when offered
       options to reserve judgment on that question. The median in the Study was 49%.

               • Q9. Over 40% of the DC Community stated they believe all the Events of
       January 6th were racially motivated, even when offered options to reserve judgment
       on that question. The median in the Study was 20%.

       The government also ignores that the Select Litigation Survey commissioned by the Federal

Public Defender retained the services of a media research firm to analyze aspects of news coverage

concerning J6. (Exh. B). The FPD Survey found that most D.C. residents prejudged the

defendants as generally “guilty” and prejudged the element essential to intent. (Exh. B, ¶¶14, 10,

15, 18). Significant majorities in the District characterized J6 protestors as “criminals” (62%) and

have already formed the opinion that these individuals are “guilty” of the charges brought against

them (71%). (Exh. B, at ¶¶ 14, 10).

   c. Analysis by Zogby Polling Co.

       Defendant Garcia filed a Motion to Transfer Venue and attached a Survey for the District of
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Columbia by Zogby, Inc., hardly a Trump-friendly pollster. (Case 1:21-cr-00129-ABJ, ECF 54-1

Filed 02/01/22, attached hereto as Exhibit C). The government disputes the findings by Zogby, but

these findings are clearly stated in the attached document to the Motion, Exh. C. Zogby found that:

               --88% of registered D.C. voters believe that if Garcia went inside the Capitol
       building on January 6, 2021, he should be convicted of obstruction of justice and
       civil disorder;
               --73% of respondents believed that anyone who merely entered the Capitol
       building on J6 is guilty of insurrection;
               --A majority (64%) of respondents believe that anyone who entered the
       Capitol building on J6 is responsible for other protestors’ violence and destruction
       of property;
               --70% of respondents believe that anyone who went inside the Capitol
       building on January 6 was trying to stop the certification of the electoral vote for
       president.

       The government’s attempt to dispute the results of this survey is without merit. In support

of his motion, Garcia directed the Court’s attention to the Harrison Hickman survey of D.C.

residents commissioned by the Federal Defender, and used in support of a change of venue motion

in the J6 case of United States v. Gieswein, 21-CR-24-EGS, which was filed after Garcia’s.

(Attached here as Exhibit A). The results and conclusions parallel Zogby’s survey. The ILR Study

commissioned by the Undersigned corroborates the Zogby poll findings, as does the report

commissioned by the Federal Public Defenders. The “science” is irrefutable: the D.C. jury pool is

heavily saturated with bias against the defendants.


                                      CONCLUSION

       Simply put, the Defendants cannot receive a fair trial in the District. Nobody disputes that

D.C. jurors are highly intelligent and are fair-minded regarding 99.9% of cases that arise in this

Court. J6 is radically different. That is why J6 defense attorneys are asking this Court to move the

trials in these matters to the Eastern District of Virginia, Alexandria, or another venue, despite the

District’s reputation for defense-friendly juries. Not only has the local community been saturated

with non-stop negative press, but the community has been personally affected by the presence of

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fences, the National Guard, road closures, and the events of J6 themselves. The Oath Keepers

cases are different than other cases that have proceeded to trial. Those cases involved anonymous

individuals, whereas the instant cases involve identified groups of people who have been slandered

in the media with monikers such as “racists,” “white supremacists,” “domestic terrorists,” etc. The

Defendants should not have to prove that they are not racists and domestic terrorists.

       It is clear that the multiple factors of prejudice are evident in this case, it is not only about

pretrial publicity, but it includes pretrial publicity, and the statements of local DC Politicians who

conclude that it was an “insurrection” on January 6th which presume all of the elements of planning

and intent to go forcibly into the Capitol. It is also the statements from the Congressional

Committee which is running a parallel investigation and similarly has made pronouncements on

findings of guilt of those who were present on January 6th protest. By definition Congress has

called it an “attack” – or forcible entry, and even terrorism. All defendants who have gone to jury

trials to date have been convicted of all the felony charges brought in less than 3 hours. We further

submit that three different surveyors issued reports finding bias in the DC jury especially when

compared to other jurisdictions, like the comparison by the Federal Public Defenders to Atlanta.

       By moving the trial outside of D.C.—with the full consent of the Defendants, who will

agree not to raise the Delaney issue as grounds for a postponement if such a venue change is

made—the Court will save resources by being able to combine trial groups, and will have more

predictability with trial dates certain. The Court will also ensure the Defendants a fairer venue,

which will be far less impacted by the daily political back-and-forth on Capitol Hill.

       In the duty to ensure equal protection of the law 18, rather than purely adversarial goals, such



18
  “Selectivity in the enforcement of criminal laws is, of course, subject to constitutional
constraints.” U.S. v. Batchelder, 442 U.S. 114, 124-25 (1979). These constraints include the
Fifth Amendment’s Equal Protection Clause, which requires that “the decision whether to
prosecute may not be based on ‘an unjustifiable standard such as race, religion, or other
arbitrary classification.’” Oyler v. Boles, 368 U. S. 448, 456 (1962).

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a move would insulate the government’s own cases, assuming they prove their cases, based on a

simple move across the river, (where there may even be some practical efficiencies, such as

possibly the ability to try more than six or seven defendants at once). Alternatively, not granting

the instant request will risk the possibility of multiple retrials. The arguments and evidence put

forth by the defense of pervasive prejudgment in the jury pool is substantial. One might ask: If the

J6 case of the Oath Keeper defendants does not merit a venue change, what case would?

Moreover, the Court is certain to confront a Delaney issue close to the trial date, as the J6

Committee will be releasing its report on the eve of the first trial date in this matter. The Court can

avoid this issue by granting the reasonable request put forth by the defense to transfer this matter to

the Eastern District of Virginia, Alexandria.




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                                     Respectfully submitted,

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                                Certificate of Electronic Service

       I hereby certify that on May 12, 2022, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF System, with consequent service on all parties of record.


                                             /s/ David W. Fischer
        and

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